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 4                               UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                Case No. 2:12-cr-00463-JCM-VCF
                                               )
 9   vs.                                       )                ORDER
                                               )
10   CAROLYN WILLIS-CASEY, et al.,             )
                                               )
11                     Defendants.             )
     __________________________________________)
12
            This matter is before the Court on Defendant Carolyn Willis-Casey’s Motion to Modify
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     Conditions of Release (#270), filed June 17, 2014. The request is unopposed. Accordingly,
14
            IT IS HEREBY ORDERED that Defendant Carolyn Willis-Casey’s Motion to Modify
15
     Conditions of Release (#270) is granted.
16
            IT IS FURTHER ORDERED that Defendant’s conditions of release are modified to
17
     reflect that her passport be temporarily returned to her for two days, Wednesday, July 2, 2014 and
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     Thursday, July 3, 2014, for purpose of taking the GRE.
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            DATED: June 20, 2014.
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                                                 ______________________________________
22                                               C.W. Hoffman, Jr.
                                                 United States Magistrate Judge
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